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From:

Jeffery Battle, Plaintiff
P.O. Box 448
Laurel, MD 20725

To: ms D

Honorable Lydia Kay Griggsby Rev'd by: tee
United States District Judge
United States District Court, District of Marland

6500 Cherrywood Lane, Suite 400
Greenbelt, MD 20770

CC:

Microsoft Corporation Regional Agent: (Defendant)
DLA Piper LLP (US)

650 South Exeter Street, Suite 1100

Baltimore, MD 21202-4576

ATTN: Brett Ingerman

Tel: (410) 580-3000

Fax: (410) 580-3001

Jeffery Battle v. Microsoft Corporation - Case No. 1:23-cv-01822-LKG;; Plaintiff’s
Response in Opposition to Defendant’s Motion to Compel Arbitration; Court Order dated
May 29, 2024

Dear Judge Lydia Griggsby,

Your Honor, the Plaintiff, Jeffery Battle, (“Mr. Battle”) opposes the defendant’s Motion to
Compel Arbitration and includes in this briefing information and evidence, in support of his
opposition. The defendant has falsely, and without valid evidence, asserted that the plaintiff is
under a Master Service Agreement (MSA), an arbitration-mandated agreement, which would not
allow him to engage in civil activities. Mr. Battle’s responses are detailed under the following
headings including; “False Arbitration Mandate Claims, Assault Claim, and Relinquished Claim
for Arbitration.”

False Arbitration Mandate Claims:

Initially, the defendant, Microsoft, proposed to the court their intent to file a Motion to Compel
for Arbitration and Dismiss filing, dated December 18, 2023, stating, “Mr. Battle has assented
to the application terms of service since creating his account in 2003 and most recently
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again in October of this year by clicking on the relevant notice of terms.” See Court Docket
# 29; Substantive legal issues — addressing (Ingerman, Brett) dated December 18, 2023.

Referencing the defendant's false and misleading statements concerning arbitration mandates, by
stating, “Mr. Battle has assented to the application terms of service since creating his account in
2003...” The defendant made this statement without presenting documentation evidence to the
court concerning their assertion about the 2003 terms of service agreement. Background, the
plaintiff created an email account with Microsoft in 2003, a Microsoft (Hotmail) email account
at (jefbtt!@ hotmail.com), accepting the terms and conditions of his email use with the Microsoft
“MSN Subscription Agreement - 2003.” There was no language, terms, or conditions,
demanding mandatory arbitration in the MSN Subscription Agreement — 2003, which was in
place when the Plaintiff filed the civil complaint in July of 2023. After the Plaintiff requested
documentation proof, the defendant changed the language of their December 18, 2023 statement,
back-walking their assertion indicating that their 2003 MSA terms of service documentation had
language mandating arbitration. Mr. Battle requested documentation proof from the defendant,
by email, “a PDF copy of (Microsoft's 2003 - Master Service Agreement (MSA) - Arbitration)”
documentation from the defendant on January 3, 2024, stating, “Mr. Ingerman, Mr. Tobey, and
Ms. Carr, Please, forward to me by email, a PDF copy of (Microsoft's 2003 - Master Service
Agreement (MSA) - Arbitration), and please, let me know your decision and the status of the
requested MSA. Respectfully, Jeff’ The defendant responded, “In response to your email, please
find attached the 2003 document you requested...” then made another false statement, “without
waiver of the fact that the 2022 and 2023 MSAs reflect the terms in effect at the time of this
dispute. We are attaching those for your reference as well.” See Exhibit 139, MSN Subscription
Agreement - 2003, pages I through 16; See Exhibit 140 pages I through 4, Email from defendant
— forwarded with Microsoft Service Agreements (MSA) dated 2022 and 2023 attachments, dated
January 3 - 8, 2024.

Referencing the defendant’s continued false and misleading statements concerning arbitration
mandates, by stating, “Mr. Battle has assented to the application terms of service ... again in
October of this year by clicking on the relevant notice of terms.” The defendant's reference to
“this year” is October 2023, after the Plaintiff filed the civil complaint in July 2023. The
defendant stated,” Plaintiff was repeatedly required to accept and agree to the MSA’s terms of
service to continue using covered Microsoft products and services.” The defendant attempted to
mislead the court, plaintiff, and civil proceedings, by falsely putting new arbitration agreements
in place after the plaintiff had filed a civil complaint in July of 2023. First, in October 2023, the
defendant corresponded with Mr. Battle at his email address (jefbtt!@hotmail.com), a Microsoft
Hotmail email account. The Plaintiff stated, “Since I do not currently have an attorney
representing my case, I prefer written correspondence.” Having this knowledge, in October 2023,
the defendant decided to use the acquired information about his correspondence preference
against Mr. Battle and locked him out of his Microsoft account and email address at
(jefbtt!@hotmail.com). This occurred when the defendant's court response to Mr. Battle’s civil
complaint was nearly due to be submitted. The defendant has decided to falsely manipulate the
civil process in hopes of gaining favor. To gain access back into the plaintiff's Hotmail email
account to monitor written correspondence with the defendant as Mr. Battle had indicated, a
mandatory and new agreement was then required to be accepted by “clicking on the relevant

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notice of terms.” Plaintiff did not agree to the new Master Service Agreement (MSA) until
manipulated, locked out of his Microsoft email account, and forced to do so in October 2023
after Mr. Battle had already filed a civil complaint in July 2023. The plaintiff is not under
Microsoft’s new MSA’s obligation to arbitrate his civil complaint which was forcefully put in
place with trickery, deception, and manipulation, after the filing of the civil complaint in June
2023. Mr. Battle believes the defendant’s actions were crafted to directly manipulate the civil
proceeding, deceive the court, and force an unjustified arbitration. See Exhibit 141, Email
Correspondence between Plaintiff and Defendant Concerning Written Correspondence
Preferences, pages I of 1; See Exhibit 140 pages I through 4, Email from defendant — forwarded
with Microsoft Service Agreements (MSA) dated 2022 and 2023 attachments, dated January 3 -
8, 2024.

It is alleged, by the plaintiff, that the defendant has engaged in Perjury, while attempting to
manipulate the plaintiff's civil proceedings by engaging in misconduct, submitting false
statements and documentation to the court, falsely asserting that the plaintiff was under an MSA
arbitration agreement that would not allow him to engage in these civil proceedings. Perjury is
the intentional act of falsifying an affirmation, to tell the truth, whether spoken or in writing,
concerning matters material to an official proceeding. For additional information, See Court
Docket # 29; Substantive legal issues — addressing (Ingerman, Brett) dated December 18, 2023;
See Court Docket # 23; RESPONSE re20 Substantive legal issues - addressing filed by Jeffery
Battle, dated December 20, 2023; See Court Docket # 27; Plaintiff's Response re20 Substantive
legal issues - addressing filed by Jeffery Battle, dated December 28, 2023; and See Court Docket
# 28, Supplement to27 Response filed by Jeffery Battle, dated January 4, 2024.

False assertions concerning arbitration mandates do not shield the defendant from civil litigation
or the plaintiff's Motion for Injunction.

Assault Claim:

Assault is not arbitrable. Mr. Battle has alleged that the defendant has engaged in continuous
assault for over a year with no estimated end date. The plaintiff's civil complaint documentation
included a “Civil Cover Sheet” form “JS 44” with the column for “Nature of Suit” “Personal
Injury” check box indicating, “Assault, Libel & Slander”, and was signed by Mr. Jeffery Battle.
The document was court-stamped and received on July 7, 2023. See Exhibit 142, Civil Cover
Sheet - JS-44.

Assault can be litigated in a civil complaint or prosecuted as criminal. Mr. Battle exercised his
option to amend his initial civil complaint. An amended complaint is a written revision of the
original complaint filed by a plaintiff. Rule 15 of the federal rules of civil procedures allows the
plaintiff to amend their complaint at any point before the defendant answers the complaint.
Plaintiffs may choose to amend a complaint for numerous reasons including additional claims,
correct facts, add additional parties to the suit, include additional requests for relief, or clear up
inadequate claims. The plaintiff indicated in writing to the defendant, through their formal
communication platform “Report a Concern to BING” that he was being assaulted, before filing
a civil complaint, by stating the following:
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A. On June 5, 2023, the plaintiff wrote, “My reputation, business, professional standing and
career, autobiography launch, life, and my family’s life and safety are at risk to multiple
levels of harm due to false reporting.” See Court Docket entry # 3; Pre-Discovery
documentation: Correspondence from Jeffery Battle re: Pre-Discovery Exhibit Documents,
dated July 24, 2023, (Exhibit 13, page 61).

Relinquished Claim for Arbitration:

The background is that the defendant, Microsoft, officially communicated with Plaintiff from
May through July of 2023 to resolve a dispute to remove false materials from BING that labeled
him as a convicted terrorist and his personal property as a convicted terrorist owned. The
communication was through the defendant’s official Case Management internet portal (Report a
Concern to BING) web interchange and webpage feedback portals. The defendant showed that
they could not correct or control the outputs of their own generated Artificial Intelligence (AI).
Mr. Battle's initial responses to the defendant included:

B. On June 4, 2023, the plaintiff wrote, “This is Jeffery Battle and the attached false and
defamatory message keeps re-appearing. The inflammatory content page, reporting false
information, that you stated was removed yesterday (RE: CDOC Case Management
SIR14721209) is back on Microsoft BING today, just one day later.” See Court Docket entry
# 3; Pre-Discovery documentation: Correspondence from Jeffery Battle re: Pre-Discovery
Exhibit Documents, dated July 24, 2023, (Exhibit 13, page 61).

C. The plaintiff wrote, “URGENT: PLEASE ESCALATE TO HIGHER AUTHORITY / CEO
or President of Microsoft - MULTIPLE NOTICES FORWARDED / AI The same message
appears to be duplicating the same message by “crawling” as it makes its way through the
internet - the message could possibly be created due to human programming.” See Court
Docket entry # 3; Pre-Discovery documentation: Correspondence from Jeffery Battle re:
Pre-Discovery Exhibit Documents, dated July 24, 2023, (Exhibit 13, page 60).

The false information continued to resurface on the Microsoft Bing platform after being
repeatedly taken down by their employees, then, the defendant changed and reversed their
position and began falsely denying it was their fault and involvement concerning the material
labeling Plaintiff and his property as a convicted terrorist and terrorist owned. The defendant
changed their communication with the plaintiff and began to state that the unauthorized activities
were the fault of some other unnamed entity, someone other than themselves. After Microsoft
ceased communications and denied involvement, the plaintiff then had no choice but to attempt
to communicate through an attorney-generated and formal legal notice - Cease-and-Desist.
Microsoft did not respond to the first official Cease-and-Desist legal notice and they did not
respond to the four that followed. See some of the plaintiff's and defendant's correspondence as
follows:
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A. Court Docket entry # 3: Pre-Discovery documentation; Correspondence from Jeffery
Battle re: Pre-Discovery Exhibit Documents; dated July 24, 2023, (Exhibit 12, pages 1
through 4) and (Exhibit 13, pages I through 13).

B. Court Docket entry # 3; Pre-Discovery documentation: Correspondence from Jeffery
Battle re: Pre-Discovery Exhibit Documents, dated July 24, 2023, Cease & Desist Legal
Notice (Exhibit 2, pages 1 through 5) and (Exhibit 4, pages I through 4).

C. Court Docket entry # 3; Pre-Discovery documentation: Correspondence from Jeffery
Battle re: Pre-Discovery Exhibit Documents, dated July 24, 2023, (Exhibit 8; Exhibit 9;
Exhibit 10; and Exhibit 11.

Because of the defendant’s actions to (a) end formal dispute resolution communications and
activities through their process of (Report a Concern to Microsoft BING), (b) changing their
position to that of non-involvement, and (c) not responding to a formal Cease-and-Desist
notification, the defendant relinquished any claim for arbitration and any claim that the Plaintiff
was obligated to a dispute resolution under any Microsoft Service Agreement (MSA) for
Arbitration.

The plaintiff submitted numerous formal dispute resolution attempts, from May to July of 2023,
in formal attempts to settle this dispute with the defendant Microsoft through their required
webpage “Feedback” feature and Case Management internet portal “Report a Concern to
Microsoft BING” web communication interchange. The defendant responded to the Plaintiffs
problems as follows:

A. In communications to resolve the dispute with the defendant, the plaintiff, Mr. Battle
provided the case Management number, SIR14721209, which Mr. Battle received for
these communications. At times the damaging search results were removed from Bing;
stating “The URL in question is no longer visible on Bing. If you continue to see the
URL appearing on Bing, please provide a screenshot of the search results page or
provide the URL in question for further investigation. Dated June 2, 2023” See Court
Docket entry # 3; Pre-Discovery documentation: Correspondence from Jeffery Battle re:
Pre-Discovery Exhibit Documents, dated July 24, 2023, (Exhibit 13, page 63.) However,
shortly thereafter, within moments on the same days, they would be re-posted using
different URLs or in different locations, attached to Mr. Battle’s autobiography and
company marketing materials, his journalist material on “Muck Rack” or his EIN Press
Releases, therefore, also harassing him as a journalist. However, other defaming
information that is attached to his marketing materials and press releases, did not state
that it was artificial intelligence (AI) generated.

B. Despite Mr. Battle’s many efforts to go through Microsoft’s processes and resolve this
matter, following the instructions of Microsoft Bing, and submitting the same complaints
many times through “Report A Concern to Microsoft BING” as of the date of the first
Cease-and-Desist complaint, the search results have remained the same. Microsoft
responded, “Hi, Thank you for contacting Bing regarding concerns with content
appearing in Bing search results. We have reviewed your request and have

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forwarded it along to the appropriate content moderation team for

processing. Thank you, Bing Team. Dated June 6, 2023.” See Court Docket entry # 3;
Pre-Discovery documentation: Correspondence from Jeffery Battle re: Pre-Discovery
Exhibit Documents, dated July 24, 2023, (Exhibit 13, page 58).

C. The defendant changed their position to that of BING’s responsibility for labeling
Plaintiff as a convicted terrorist, to denying involvement with labeling Plaintiff as a
convicted terrorist and ceasing dispute communications with Plaintiff by stating, “Please
contact the webmaster of the hosting website that published the content, as they control
the website and content in question.” Dated June 21, 2023. Due to their response to deny
involvement and disengage from communicating with the plaintiff, the defendant
relinquished any claim mandating all valid arbitration processes. The plaintiff responded
on June 21, 2023, “Microsoft is the hosting website that published content that is
Cyberstalking (Direct and Indirect), Defamation, and more. Please see the screenshot
attachment dated today (2number (2); stating the following:

“Jeffery Battle, also known as The Aerospace Professor, is the President and
CEO of Battle Enterprises, LLC and its subsidiary The Aerospace Professor
Company. He is an honorable discharged U.S. Air Force veteran and has been
appointed as an Adjunct Professor for Embry-Riddle Aeronautical University.
Battle has a Master of Business Administration in Aviation degree and two
Bachelor of Science degrees. However, Battle was sentenced to eighteen
years in prison after pleading guilty to seditious conspiracy and levying war
against the United States. He had two years added to his sentence for
refusing to testify before a grand jury.” See Court Docket entry # 3; Pre-
Discovery documentation: Correspondence from Jeffery Battle re: Pre-
Discovery Exhibit Documents, dated July 24, 2023, (Exhibit 12, pages 1
through 2).

D. On June 23, 2023, Gouchev Law attorney, Jared Steiner, submitted an immediate cease
and desist letter to Microsoft, entitled, “Legal Notice — Confidential, VIA CERTIFIED
MAIL RRR AND ELECTRONIC TRANSMISSION” with an attachment entitled “Exhibit
A” (GL 6-26-23).pdf, on behalf of Mr. Battle, with a response due date of July 3, 2023.
The cease-and-desist letter was also emailed to two of the defendant’s attorneys.
However, no response from Microsoft was returned to Gouchev Law, by email or to the
physical office address. See Court Docket entry # 3; Pre-Discovery documentation:
Correspondence from Jeffery Battle re: Pre-Discovery Exhibit Documents, dated July 24,
2023, Cease & Desist Legal Notice (Exhibit 2, pages 1 through 5) and (Exhibit 4, pages 1
through 4).

The defendant’s new and revised submission, reframing and redirecting their initial arguments,
did not provide evidence to support their assertions in favor of arbitration. The plaintiff s civil
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filings are not subject to any Microsoft Service Agreement (MSA) mandating arbitration, and the
assault claim presented in the civil complaint is not arbitrable.

The plaintiff respectfully requests that the personal injury case remain in Maryland Federal
District Court and that the Motion for Injunction — Permanent process continue as scheduled.

Sincerely,

Jeffery Battle, Plaintiff

A. This document has been forwarded to the defendant at the following address by FedEx
Next-Day Delivery with Signature Confirmation, along with a Certificate of Service to:

Microsoft Corporation Reginal Agent:
DLA Piper LLP (US)

650 South Exeter Street, Suite 1100
Baltimore, MD 21202-4576

ATTN: Brett Ingerman

B. This document will be hand delivered by Plaintiff to The Maryland Federal District Court
along with a Certificate of Service and FedEx delivery receipt documentation.
